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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                          Criminal No. 18-cr

                v,                                                VIOLATION:

KRISHNA JANNOR-JOHN MARSH,                                       18 U.S.C. $ 1349
                                                                 (Conspiracy to Commit Bank
                Defendant.                                       Fraud)

                                                                 FORFEITURE:

                                                                  18 u.S.C. $   e82(a)(2)(!);21u.S.c.
                                                                 8s3(p)

                                            INFORMATION

        The United States Attomey charges that:

                                      .   COUNT ONE
                               (Conspiracy to Commit Bank Fraud)

        At times material to this Information:

                                               Background

        1.           Defendant Krishna Jannor-John Marsh resided in New York and Florida.

        2.           Capital One Bank (Capital One) was a financial institution, within the meaning

of Title 18, United States Code, Section 20(1). It was insured by the Federal Deposit lnsurance

Corporation.

        3-           On or about February 27, 2017, Co-Conspirator A began working for Capital

One as a Universal Branch Associate. Co-Conspirator A was assigned to the branch located at 85

H   Street NW, Washington,      D.C.      Co-Conspirator   A's primary responsibility was to    process

customer transactions in the teller   line. Co-Conspirator A   also opened accounts, issued debit cards,

and processed wires.
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                                            The Conspiracy

       4.         From in or about May 2017 to at least August 2017 , within the District of Columbia

and elsewhere, Defendant Marsh, Co-Conspirator          A, and others known and unknown to the United

States Attorney's Office, knowingly and      willfully conspired to commit   an offense under Chapter

63 of Title 18 of the United States Code, that offense being Bank Fraud, in violation of Title 18,

United States Code, Section 1344.

                                    The Purpose of the Conspiracy

       5.         The purpose   of the   conspiracy was for the conspirators     to unlawfully   enrich

themselves herself by fraudulently obtaining funds from Capital One and Capital One account

holders.

                               The l\tlanner and Means of the Scheme

       6.         It was apart of the conspiracy that Co-Conspirator A accessed Capital One account

holders'personal identifying information for no legitimate business purpose.

       7   .      It was a further part of the conspiracy that Co-Conspirator A provided the personal

identifying information to other conspirators, including Defendant Marsh.

       8.         It was a further part of the conspiracy that conspirators, including Defendant Marsh,

posing as Capital One account holders, entered the Capital One branch where Co-Conspirator A

worked and other Capital One branches. They presented counterfeit identification in the names of

the account holders and conducted or attempted to conduct fraudulent transactions.

       9.         It was a further part of the conspiracy that conspirators opened fictitious accounts

at other financial institutions, including SunTrust Bank (SunTrust), Branch Bank and Trust

(BB&T), and Wells Fargo Bank (Wells Fargo).



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          10.      It was a further part of the conspiracy that conspirators wired funds and deposited

checks from the compromised Capital One accounts into these fictitious accounts.

          1   1.   It was a further part of the conspiracy that conspirators then withdrew funds from

the fictitious accounts.

                                  (Conspiracy to Commit Bank Fraud,
                       in violation of Title 18, United States Code, Section 1349)

                                      FORFEITURE ALLEGATION

          1.       Upon conviction of the offense in Count One, the defendant shall forfeit to the

United States, pursuant to 18 U.S.C. $ 9S2(aX2)(A), any property constituting, or derived from,

proceeds the defendant obtained directly or indirectly, as the result of the offense. The United

States   will   seek a forfeiture money judgment against the defendant in the amount          of $50,000.

          2.       If any of   the property described above as being subject to forfeiture, as a result     of

any act or omission of the defendant:

         a.        cannot be located upon the exercise of due diligence;

         b.        has been transferred or sold to, or deposited   with,   a   third party;

         c.        has been placed beyond the     jurisdiction of the Court;

         d.        has been substantially diminished in value; or

         e.        has been commingled      with other property that cannot be divided without
                   difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the

value of the property described above, pursuant to         2l U.S.C. $ 853G).




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   (Criminal Forfeiture, pursuant to Title 18, United States Code,
Section 982(a)(2)(A), and Title 21, United States Code, Section 853(p))



                               JESSIE K. LIU
                               United States Attomey
                               for the District of Columbia
                               D.C. Bar No. 472845


                        By:
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